

ORDER

PER CURIAM:
AND NOW, this 28th day of December, 1995, upon consideration of the Report and Recommendations of the Disciplinary Board dated November 16,1995, it is hereby
ORDERED that Laura Vanderbilt Heist-erkamp be and she is suspended from the Bar of this Commonwealth for a period of five (5) years, retroactive to March 30, 1993, and she shall comply with all the provisions of Rule 217, Pa.R.D.E. It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
CASTILLE, J., dissents and would issue a Rule to Show Cause why respondent should not be disbarred.
